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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

ROSA BAUZO VAZQUEZ, RAFAEL
RAMOS MATOS and their conjugal                            CIVIL NO.
partnership; ANGEL LUIS RAMOS
BAUZO; YAEL RAMOS LOPEZ                                   JURY TRIAL
MARY ANN MATOS CHAPMAN                                    DEMANDED
      PLAINTIFFS

       VS.

CHRISTIAN OLEAS;
HILTON WORLDWIDE, INC.
COMPANIES A, B and C; INSURANCE
COMPANIES X, Y and Z; JOHN DOE;
MARY MOE,
     DEFENDANTS

                                        COMPLAINT

TO THE HONORABLE COURT:

       COME NOW Plaintiffs, through the undersigned attorney and respectfully state and pray:

                                     I. JURISDICTION

       1. This Honorable Court has jurisdiction under 28 U.S.C. Sec. 1332, as all parties in

either side of this litigation are of diverse citizenship and the amount in controversy exceeds

$75,000.00. This wrongful death and negligence action stems from a vehicular collision, and

arise under Puerto Rico Civil Code, Articles 1802 and 1803, 31 L.P.R.A. Sec. 5141 and 5142 et

seq. Venue is proper under 28 U.S.C. Sec. 1391 (b).

                                        II. PARTIES

       2. Co-plaintiffs Rosa Bauzó Vázquez, Rafael Ramos Matos, Angel Luis Ramos Bauzó

and Mary Ann Matos Chapman, are mother, father, brother and companion of deceased motorist

Jorge Ramos Bauzó respectively. Co-plaintiff Yael Ramos López is a minor nephew of decedent

represented by his father Co-plaintiff Angel Luis Ramos Bauzó.




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        3. Co-defendant Christian Oleas is a citizen and resident of California, rendering services

as the Director of Beverage at El Conquistador Resort in Fajardo, Puerto Rico owned by Co-

defendant Hilton Worldwide, Inc. (HWI).

        4. Co-defendant Hilton Worldwide, Inc. (HWI) is a corporation organized under the laws

of Delaware with principal place of business in Virginia. HWI owns, operates and maintains El

Conquistador Resort, a hotel marketed as a Waldorf Astoria Resort.

   Upon information and belief, HWI may have layers of Delaware-organized limited liability

companies having ultimately HWI as its sole member, and not citizens of Puerto Rico for

diversity purposes.

        5. Co-defendants companies A, B and C are legal entities that caused or contributed to

causing the damages to Plaintiffs.

        6. Co-defendants companies X, Y and Z are insurance companies with insurance in full

force and effect at the time of the facts.

        7. Co-defendants Peter Poe and Mary Moe are third parties and/or Defendants that caused

and/or contributed to causing damages to Plaintiffs.

        8. All of the named Defendants are jointly and severally responsible to Plaintiffs for the

damages caused to them. All Defendants fictitiously named herein will be correctly named once

their identities are determined.

                                             III. FACTS

        9. The present case involves a head to head vehicular collision at the Roberto Sánchez

Vilella expressway in Northeast Puerto Rico commonly known as “Route 66”. This expressway

comprises two two-lane roadways separated by a grass-covered median with state of the art

signage and controls, and stretching about 20 kilometers between the Carolina and Río Grande

municipalities. Route 66’s highway-paced traffic runs eastwards and westwards in the North and

South roadways respectively in opposite directions. The collision occurred in the eastbound

South roadway at kilometer 12.9 within the Canóvanas municipality.
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        10. On May 9, 2014, prior to the time of the collision, Jorge Ramos Bauzó was

proceeding eastwards through Route 66’s South roadway driving his Hyundai Accent 2010

automobile carefully and cautiously in every respect, traveling at a reasonable rate of speed, with

seat belt on and wholly without negligence.

        11. On May 9, 2014, at the same time, Co-defendant Oleas was driving his BMW 128i

2012 vehicle negligently and while intoxicated. At the intersection of Road 187 and Route 66 in

Río Grande, Co-defendant Oleas entered onto Route 66’s eastbound two-lane South roadway in

the wrong direction, driving westwards in disregard of the signs, a two police vehicles’ hot

pursuit behind him, and of the fact that the traffic ran eastwards in both lanes and opposite-

directed vehicles at highway speed were tried to dodge him.

        12. Co-defendant Oleas continued to travel westwards through Route 66 South roadway

contrary to traffic for more than seven kilometers prior to the collision. Co-defendant Oleas

knew or should have known that he was traveling in the wrong direction. Instead, Co-defendant

Oleas drove the motor vehicle while intoxicated in the wrong way and at high and unlawful

speed from kilometer 20 to 12.9 of Route 66 expressway. He had a clear opportunity to avoid an

accident by turning the automobile around into safety, or to stop and find a way to the westbound

North roadway, but this he failed to do.

        13. On May 9, 2014 at about 12:28 a.m., in Route 66’s South roadway at kilometer 12.9,

intoxicated Co-defendant Oleas negligently, carelessly and with wanton recklessness proceeding

in the wrong way, suddenly and without warning violently collided head to head with the front of

the Jorge Ramos Bauzó vehicle demolishing it with great force and violence. Mr. Jorge Ramos

Bauzó died about one and a half hour later as a result of the horrific injuries he sustained during

the collision.

      14. Decedent motorist Jorge Ramos Bauzó suffered calamitous bodily injuries, including

but not limited to fractures, lacerations and contusions in his face, brain, thorax, abdomen, arms,


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legs, and damaging wounds and destruction of the internal organs and musculoskeletal system,

causing him agonizing pain and suffering and ultimately his appalling death.

       15. Plaintiffs further allege that Co-defendant Oleas had the exclusive care and

management of the BMW 128i 2012 vehicle at the time he carelessly and negligently and while

intoxicated drove in the wrong way and at excessive speed for more than seven kilometers

through the two-lane eastbound South roadway of the Route 66 expressway, and struck Jorge

Ramos Bauzó’s Hyundai Accent 2010 automobile head on. It was the duty of Co-defendant

Oleas to use due care and operate the vehicle in a careful and prudent manner, so as not to cause

death to Jorge Ramos Bauzó.

       16. In the ordinary course of events, automobiles driving in a careful and prudent manner

do not travel in the wrong direction of a two-lane South roadway of a major expressway at high

speed for more than seven kilometers. Co-defendant Oleas would not have driven the automobile

in the wrong way and while intoxicated had he been exercising due care in the management and

control of the automobile. By virtue of the above facts, the doctrine of res ipsa loquitur is

applicable to the Complaint.

       17. Upon information and belief, the intoxication of Co-defendant Oleas occurred at the

premises of HWI’s El Conquistador Resort during the course and scope of his employment as

Director of Beverages.

        Co-defendant HWI was negligent in hiring an improper person to work as Director of

Beverages involving an unreasonable harm to others. Co-defendant HWI failed to exercise

reasonable care by placing an individual with known alcoholic and/or vehicular recklessness

propensities or that should have been discovered by reasonable investigation in an employment

position in which due to the circumstances as Director Beverages of El Conquistador Resort,

with more than 20 alcohol-serving outlets, it should have been foreseeable that the hired

individual posed a risk to others.


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       18.   The proximate and only cause of the damages suffered by the Plaintiffs was

negligence of the Defendants, for which they are jointly and severally responsible to Plaintiffs.

   Decedent Jorge Ramos Bauzó did not act in such way to contribute to this own death, in that

he acted as a reasonable and prudent motorist would, given the circumstances and information

disseminated to her and his family.

   HWI is vicariously liable for Co-defendant’s Oleas conduct, and/or HWI’s conduct

constitutes negligence in hiring and retention of codefendant Oleas as the Director of Beverages

of El Conquistador Resort.

     19. Defendants committed acts of omission and commission, which collectively and

severally constituted negligence and proximately caused the accident and resulting injuries,

death, damages and expenses.

     20. As a result of above-described collision, and the resulting lethal personal injuries, Jorge

Ramos Bauzó’s body was crushed, bruised, lacerated and he suffered excruciating pain and

physical suffering before dying on site at around 1:30 am.

   As a direct and proximate result of the acts or omissions of the Defendants, decedent Jorge

Luis Ramos Bauzó suffered horrific and severe pain and suffering and ultimately death.

   21. Co-plaintiffs Rafael Ramos and Rosa Bauzó are the sole surviving heirs at law of

deceased Jorge Ramos Bauzó, as father and mother respectively. Accordingly, they inherit the

correspondent cause of action for physical and emotional pain that the suffered.

   22. Plaintiff Mary Ann Matos Chapman and Angel Luis Ramos Bauzó were notified of the

events and personally saw the destroyed copse of Jorge Ramos Bauzó and his demolished car.

Plaintiff Angel Luis Ramos Bauzó is the surviving brother, and Mary Ann Matos is the surviving

fiancée.

   23. At the time of this death, decedent Jorge Ramos Bauzó was 26 years of age and has a

reasonable life expectancy of 80 years


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   24. As a direct and proximate result of the death of decedent, Plaintiffs have been deprived of

decedent’s future support, love, care, comfort, affection, society, presence, companionship,

protection, and as to Mary Ann Matos Chapman deprived of consortium, and thus have suffered

pecuniary loss also.

                             FIRST CAUSE OF ACTION

       25. The Plaintiffs incorporate and re-allege the above-stated paragraphs.

       26. Plaintiffs sustained serious injury and emotional distress all as a direct result of joint

negligence of the Defendants in this action.

       27. Plaintiffs Rosa Bauzó Vázquez, Rafael Ramos Matos, Angel Luis Ramos Bauzó,

Yael Ramos López and Mary Ann Matos Chapman suffered as a result of losing their respective

loved son, brother, uncle and companion unnecessarily. Jorge Ramos Bauzo died in a violent

traumatic and painful manner.

       28. Co-Plaintiffs Rosa Bauzó Vázquez and Rafael Ramos Matos have a claim for

damages due to their own pain and suffering reasonably calculated in $5,000,000.00 each. Co-

plaintiffs Angel Luis Ramos Bauzo, Yael Ramos Lopez and Mary Ann Matos Chapman have a

claim for damages due to their own pain and suffering reasonably calculated in $2,000,000 each.

Co-plaintiff Mary Ann Matos Chapman as a fiancée, also claims compensation loss of

consortium and pecuniary loss reasonably calculated in $1,000.000.00.

       29. Co-defendants are jointly and severally liable for the expenses in handling all post-

accident matters, plus funeral expenses.



                          SECOND CAUSE OF ACTION

       30. Plaintiffs incorporate and re-allege the above-stated paragraphs.




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      31. Co-plaintiffs also, Rosa Bauzó Vázquez and Rafael Ramos Matos inherit decedent’s

cause of action for pain and suffering, reasonably calculated in $2,000,000.

       32. In sum, Plaintiffs respectfully request relief including but not limited to the following:

       a. The mental anguish and emotional distress for the loss
       of Jorge Luis Ramos Bauzó per the above-stated;

       b. The physical excruciating pain and mental anguishes suffered by decedent as a result
       of Defendants’ negligence per the above-stated and

       c. The loss of income and consortium, plus funeral and other costs incurred as a direct
       and proximate result of the collision, reasonably calculated in $1,000,000 per the above-
       stated.

       d. The total loss of Jorge Ramos Bauzó’s wrecked automobile amounting to $17,000.00.

   33. Defendants must compensate Plaintiffs in $16,000,000.00 in compensatory damages, and

$2,000,000.00 in punitive damages.

       WHEREFORE plaintiffs respectfully pray that this Honorable Court enter judgment in

their favor in the above-referred amounts, and award costs, attorneys’ fees plus pre- and post-

judgment interests.

       PLAINTIFFS DEMAND A TRIAL BY JURY.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 28 of July of 2014.



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